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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION
                                   www.flmb.uscourts.gov

In re:
                                                        Case No. 8:22-bk-01210-CED
MICHAEL KASTRENAKES,
                                                        Chapter 11
                 Debtor.
                                        /

         WRITTEN DESIGNATION AND CONSENT TO ACT AS LOCAL COUNSEL

         I, Nicolette C. Vilmos, an attorney qualified to practice in this Court, consent to designation

as local attorney for David J. Jurkiewicz, and agree to serve as designee with whom the Court and

opposing counsel may readily communicate regarding the conduct of this case and any related

proceedings, and upon whom papers shall be served.

DATED: August 26, 2022                          Respectfully submitted,


                                                By: /s/ Nicolette Corso Vilmos
                                                Nicolette Corso Vilmos
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                                                Local Counsel for NextGear Capital, Inc.




PURSUANT TO LOCAL RULE 1001-2(g)(3) REGARDING SIGNATURES, NICOLETTE
C. VILMOS ATTESTS THAT CONCURRENCE IN THE FILING OF THIS PAPER HAS
BEEN OBTAINED.


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